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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------x
CASPER SLEEP, INC.,

                                                         16 Civ. 3224   (JSR)
      Plaintiff,
                                                         OPINION AND ORDER
            -v-

JACK MITCHAM and MATTRES NERD LLC,


      Defendants.


JED S. RAKOFF, U.S.D.J.

      Plaintiff Casper Sleep,        Inc.   ("Casper")   sells mattresses over

the internet. Defendants Jack Mitcham and Mattress Nerd LLC operate

a website that reviews mattresses. In this action, Casper alleges

that Mitcham misleads consumers, in violation of§ 43(a) of the

Lanham Act and     §   349 of the New York General Business Law, by

implying that his reviews are unbiased, when in fact he collects

sales commissions through affiliate marketing relationships with

many of Casper's competitors but not            (any more)   from Casper's.

      Now pending before the Court is defendants' motion to dismiss

plaintiff's Amended Complaint in its entirety pursuant to Rule

12 (b) ( 1) and Rule 12 (b) ( 6)   of the Federal Rules of Civil Procedure.

For the reasons that follow,         the Court grants the motion in part and

denies it in part.       In particular, the Court grants the motion to the

extent plaintiff's Lanham Act claim is premised on Mitcham's

generalized disclosures regarding his affiliate marketing

relationships. The Lanham Act claim survives, however, to the extent

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that plaintiff seeks to recover damages flowing from Mitcham's

alleged false and misleading statements regarding his affiliate

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§   349 claim survives in its entirety.

         Launched in 2014, plaintiff Casper describes itself "as an

innovative new sleep start-up, radically disrupting the traditional

mattress industry with one mattress sold directly to consumers

online with a risk free in-home trial -                                              eliminating mattress stores

and their inflated prices." Am. Compl.                                         Cf[    2, ECF No. 17. The

fledgling company is successful, having generated over $100 million

in revenue in its first calendar year of operations and having

attracted nearly $70 million in investment. See id.                                                       Cf[   16.

         Defendant Jack Mitcham is the proprietor of

http://www.mattressnerd.com ("MattressNerd.com"), which is allegedly

operated through defendant Mattress Nerd LLC. See id.                                                           Cf[Cf[   12-13.

Mitcham has direct affiliate marketing relationships with Casper's

competitors              (but no longer with Casper), meaning that he collects

sales commissions from those competitors when his readers purchase

products through "affiliate" links on his website or with coupon

codes that he provides. See id.                               Cf[Cf[       30-32.     1   Pursuant to non-binding

guidance issued by the Federal Trade Commission (the "FTC")                                                                 in 2009,



1 Per Casper's Amended Complaint, "[a]n affiliate link is a unique
URL leading to a retailer's website that contains an identifier
associated with the affiliate. When a customer arrives at the
retailer's website by clicking on this URL link, any resulting
purchases are tracked and the affiliate receives a commission on
each purchase." Am. Compl. Cf[ 21.
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"[w]hen there exists a connection between the endorser and the

seller of the advertised product that might materially affect the

W\.:O..LC]IlL   UL   CLeU..Ll.J..L..l..LLY   UL   Lil<=   <=11UU.L::5<=lll'='11L   (..l.e.,   Lllc::   LUllllC::LL..lu11   ..lJ



not reasonably expected by the audience), such connection must be

fully disclosed." Guides Concerning Use of Endorsements and

Testimonials in Advertising, 16 C.F.R. § 255.5.

           In an apparent effort to comply with the Federal Trade

Commission Act                  (the "FTC Act"), 15 U.S.C. §§ 41-58, Mitcham includes

a general "Affiliate Disclaimer" that appears on each page of his

website. The Affiliate Disclaimer (also referred to in the Amended

Complaint as the "Sidebar Disclosure") provides as follows:

           On my site, I will often recommend products and link to
           other websites.

           In many of those cases, I get paid a small commission if
           you end up purchasing anything through those links.
           Unlike a mattress salesman in a store, I don't just get
           paid commission from one brand or one retailer; I'm an
           affiliate for many different companies, so I can help find
           you great deals no matter where they are.

           I have not been paid to write any of these articles and
           all of these opinions are completely my own. I also do not
           accept paid advertising placement on my site.

           My only compensation is when I help match a reader to the
           right product, and that reader makes the purchase through
           a link on my site. In this way, I can act as a brand-
           agnostic and retailer-agnostic salesman.

Am. Compl.             ~   44    (emphases in original).

           Mitcham also includes disclaimers at the bottom of his mattress

reviews, which "generally state that Mitcham is an affiliate of the

relevant mattress company or companies and that Mitcham receives a



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'small commission' if readers purchase a mattress through one of his

affiliate links." Id.          ~   48.




these disclosures, "Mitcham misleads consumers to believe that The

Mattress Nerd reviews are independent and unbiased," when "[i]n

fact,    they are intended to sell mattresses made by Mitcham's

affiliates." Id.     ~   42.       In addition to the substance of the Affiliate

Disclaimer itself, Casper points to MattressNerd.com's "About the

Mattress Nerd" page, which is accompanied by the Affiliate

Disclaimer, and provides in relevant part as follows:

        Buying a mattress can be a confusing experience. There is
        a lot of information about mattress shopping online, but a
        lot of it is confusing, contradictory, and sometimes just
        plain wrong. Additionally, it's difficult to find an
        unbiased source. Many mattress guides out there are
        written by the companies trying to sell you their
        particular mattress.

        People have the same two concerns when buying a mattress.
        They don't want to buy the wrong mattress, and they don't
        want to spend a penny more than they have to. It is my
        goal to make sure you don't make either of these mistakes.
        I worked as a salesman for a mattress retailer for 7 years
        before I started this website, so I have a lot of
        experience with helping people how to find the right
        mattress. Now, instead of helping one person at a time, I
        can help thousands a day through my website. I know the
        ins and outs of the mattress business, and now I've
        switched teams to be on the side of the customer.

        I focus on three major topics here on The Mattress Nerd:

             •   How to find the correct mattress in the sea of
                 choices out there
             •   How to comparison shop and negotiate for the best
                 possible price
             •   General sleep tips and accessories



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See "About the Mattress Nerd," http://www.mattressnerd.com/about/

(last visited Aug. 31, 2016)         (emphasis in original)     .2




independent, unbiased mattress reviewer, "Mitcham is part of a

surreptitious economy of affiliate scam operators who have become

the online versions of the same commission-hungry mattress salesmen

that online mattress shoppers have sought to avoid." Am. Compl. '!! 5.

Casper asserts that Mitcham's alleged "fail[ure] to sufficiently

disclose his material connections to" Casper's competitors renders

his readers "unable to consider those connections in weighing the

value of Mitcham's endorsements," id. '!! 34, leading in turn to

diversion of potential Casper sales and dilution of Casper's

goodwill in the marketplace,         see id. '!!'!! 66,   75.

        Relying on these allegations, Casper commenced this action on

April 29, 2016, bringing one claim for false advertising under

§   43(a) of the Lanham Act and one claim for deceptive practices

under    §   349 of the New York General Business Law. On June 9, 2016,

Casper filed the operative Amended Complaint.

        To survive a Rule 12(b) (6) motion to dismiss, "a complaint must

contain sufficient factual matter, accepted as true, to 'state a

claim to relief that is plausible on its face.'" Ashcroft v. Iqbal,



2 Casper excerpts and provides a link to the "About the Mattress
Nerd" page at '!! 29 of its Amended Complaint. As such, the "About the
Mattress Nerd" page was incorporated by reference into the Amended
Complaint and the page is properly before the Court on defendants'
motion to dismiss. See Difalco v. MSNBC Cable L.L.C., 622 F.3d 104,
111 (2d Cir. 2010).
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556 U.S.   662,   678   (2009)    (quoting Bell Atlantic Corp. v. Twombly,

550 U.S.   544,   570   (2007)). "The purpose of Rule 12(b) (6)             is to test,



statement of a claim for relief without resolving a contest

regarding its substantive merits." Glob. Network Commc'ns,                    Inc. v.

City of New York,       458 F.3d 150, 155      (2d Cir. 2006)         (emphasis in

original); Chance v. Armstrong,          143 F.3d 698,     701    (2d Cir.    1998)

("At the 12(b) (6)      stage,    [t]he issue is not whether a plaintiff is

likely to prevail ultimately, but whether the claimant is entitled

to offer evidence to support the claims."               (internal quotation marks

omitted)). Accordingly,          in conducting that test,        the Court accepts

all well-pleaded factual allegations as true and draws all

reasonable inferences in favor of the plaintiff. See Duffey v.

Twentieth Century Fox Film Corp.,          14 F. Supp.     3d 120, 126       (S.D.N.Y.

2014). The Court need not credit, however,              "mere conclusory

statements" or "threadbare recitals of the elements of a cause of

action." Iqbal,     556 U.S. at 678. "[L]egal conclusions masquerading

as factual conclusions will not suffice." Achtman v. Kirby,

Mcinerney & Squire,       LLP,    464 F.3d 328,   337    (2d Cir. 2006)

     Beginning with plaintiff's Lanham Act claim,                 §   43(a) (1)   of the

Lanham Act, codified at 15 U.S.C. § 1125(a) (1), provides as follows:

     Any person who, on or in connection with any goods or
     services .   . uses in commerce     . any .     false or
     misleading description of fact, or false or misleading
     representation of fact, which .   . in commercial
     advertising or promotion, misrepresents the nature,
     characteristics, qualities, or geographic origin of his or
     her or another person's goods, services, or commercial

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          activities, shall be liable in a civil action by any
          person who believes that he or she is or is likely to be
          damaged by such act.

l'.:l   u.~.c.   s;   112'.:l (a) (1).


          To prevail on a false-advertising claim under§ 43(a) of the

Lanham Act, "a plaintiff must show that either: 1) the challenged

advertisement is literally false,                or 2) while the advertisement is

literally true it is nevertheless likely to mislead or confuse

consumers." Johnson & Johnson * Merck Consumer Pharm. Co. v.

Smithkline Beecham Corp.,                960 F.2d 294, 297   (2d Cir. 1992).

          Defendants argue that Casper lacks "prudential standing" to

bring its Lanham Act claim and moves for dismissal of the claim

under Rule 12(b) (1)              for lack of subject-matter jurisdiction.

Defendants offer a grab bag of reasons for why plaintiff lacks

"standing," ranging from a claim that plaintiff's cause of action

belongs exclusively to the FTC to an argument that Mitcham's alleged

misstatements and omissions did not proximately cause plaintiff's

injury. But as a threshold matter, the Supreme Court recently

indicated that "prudential standing" is a misnomer                    at least in the

context of the Lanham Act. Per the Supreme Court's recent decision

in Lexmark International,                Inc. v. Static Control Components,    Inc.,

134 S. Ct. 1377             (2014), the inquiries traditionally undertaken under

the "prudential standing" rubric                (~,    the zone-of-interests test)

do not implicate standing at all, but instead simply go to whether

the particular plaintiff "has a cause of action under the statute."

Id. at 1387. "This inquiry 'does not belong' to the family of

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standing inquiries         . because 'the absence of a valid             cause

of action does not implicate subject-matter jurisdiction                  f   II




359 (2d Cir. 2016)   (quoting Lexmark Int'l,      Inc., 134 S. Ct. at 1386

n.4, 1387). Given that, defendants' arguments for dismissal are all

more properly classified under Rule 12(b) (6)       as arguments that

plaintiff fails to state a claim. Those arguments, among defendants'

other arguments for dismissal, are addressed below.

     To begin with, to the extent defendants argue that plaintiff's

claim should be dismissed because plaintiff is "really" alleging a

violation of the FTC Act, that argument fails. Though the Amended

Complaint leans heavily on the allegation that Mitcham's disclosures

run afoul of the FTC Act, which does not confer a private right of

action, courts have held that a "plaintiff may and should rely on

FTC guidelines as a basis for asserting false advertising under the

Lanham Act." Manning Int'l Inc. v. Home Shopping Network,         Inc., 152

F. Supp. 2d 432,   437   (S.D.N.Y. 2001)    (denying motion to dismiss

Lanham Act false-advertising claim premised on allegation that

defendant's description of gemstone products was inconsistent with

FTC guidelines); see also B. Sanfield,       Inc. v.   Finlay Fine Jewelry

Corp., 168 F.3d 967,     973   (7th Cir. 1999)   (stating that "as the

administrative agency charged with preventing unfair trade

practices, the Commission's assessment of what constitutes deceptive

advertising," including under the Lanham Act, "commands deference

from the judiciary") .

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        However, plaintiff's Lanham Act claim fails in substantial part

for a more straightforward reason: many of the statements in



point out, § 43(a) of the Lanham Act does not impose an affirmative

duty of disclosure. See Clark Consulting,         Inc. v.   Fin. Sols.

Partners, LLC, 2005 WL 3097892, at *3         (S.D.N.Y. Nov. 17, 2005)        ("The

[Lanham] Act imposes no affirmative duty of disclosure .                    and a

claim cannot be based on the failure to disclose a fact.");

McNeilab,    Inc. v. Am. Home Prods. Corp.,      501 F. Supp. 517, 532

(S.D.N.Y. 1980)     ("[A]   failure to inform consumers of something, even

something that they should know,        is not per se a misrepresentation

actionable under section 43(a)       of the Lanham Act."). While it is

true that omissions can be actionable under§ 43(a)              of the Lanham

Act if they render affirmative statements false or misleading,

plaintiff must point to such statements if its claim is to survive

defendants' motion. See, e.g., Register.Com,          Inc. v.    Domain Registry

of Am.,    Inc., 2002 WL 31894625, at *14      (S.D.N.Y. Dec. 27, 2002)

("[A]    failure to disclose facts is not actionable under Lanham Act

Section 43(a), unless the failure is relevant to an affirmative

statement that is made false or misleading by its omission."

(internal quotation marks and alterations omitted)); U.S.

Healthcare,    Inc. v. Blue Cross of Greater Phila., 898 F.2d 914,             921

(3d Cir. 1990)     ("While it has been stated that a failure to disclose

facts is not actionable under§ 43(a), it is equally true that a

statement is actionable under§ 43(a)          if it is affirmatively

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misleading, partially incorrect, or untrue as a result of failure to

disclose a material fact."      (quoting J. Thomas McCarthy, Trademarks

and Unfair Competition§       2./:/B    (2d ed.   19B4))).


       In the Affiliate Disclaimer, Mitcham discloses that he does not

"just get paid commission from one brand or one retailer;" that he

is an "affiliate for many different companies            [such that he]   can

help find you great deals no matter where they are;" that he has

"not been paid to write any of these articles;" and that because his

"only compensation is when [he] help[s] match a reader to the right

product, and that reader makes the purchase through a link on [his]

site," he "can act as a brand-agnostic and retailer-agnostic

salesman." Am. Compl. 'TI 44.

       Plaintiff does not allege that any of these statements are

false.   Instead, it alleges that the Affiliate Disclaimer

"affirmatively implies that Mitcham is an affiliate of virtually all

the mattress companies whose products he reviews and therefore that

his reviews remain unbiased despite these connections." Id. g[ 47.

"Virtually all" is not "all," however; Mitcham's disclosure that he

is an "affiliate for many different companies" is perfectly accurate

by plaintiff's own admission,          see id. Ex. B, and necessarily means

that Mitcham is not an affiliate of all mattress brands.            It is

implausible that Mitcham's readers would infer from an admission of

pecuniary interest in some but not all mattress brands that Mitcham

is,   in fact,   entirely unbiased. To the extent plaintiff takes issue

with defendants'     claim of "brand-agnosticism" and "retailer-

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agnosticism," those statements are too subjective and opinion-laden

to support a Lanham Act claim. See Boule v. Hutton,                                            328 F.3d 84,                92

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Lanham Act if it could not reasonably be seen as stating or implying

provable facts about a competitor's goods or services."                                                  (internal

quotation marks omitted)); Lipton v. Nature Co., 71 F.3d 464,                                                      474

(2d Cir. 1995)   ("[S]ubjective claims about products, which cannot be

proven either true or false,              are not actionable under the Lanham

Act."). Critically, the Lanham Act does not prevent commercial

actors from putting a positive spin on the nature of their goods or

services. Accordingly, plaintiff's Lanham Act claim fails to the

extent it is based on the Affiliate Disclaimer.                                     3



     The same goes for the statements that appear on the "About the

Mattress Nerd" page, in which Mitcham writes that                                          (1)     "it's

difficult to find an unbiased source" for mattress information;                                                         (2)

that "[m]any mattress guides out there are written by the companies

trying to sell you their particular mattress;"                                      (3)      that he has

"switched teams to be on the side of the customer;" and (4)                                                     that he

promises to "help thousands               [of potential mattress purchasers] a day

through [his] website." Am. Compl.                      <JI   29. Plaintiff makes no

allegation that the first two statements are false,                                            and the latter



3 To the extent plaintiff contends that the reference to a "small
commission" in the Affiliate Disclaimer is misleading because
Mitcham's commissions from affiliates are, in fact, "meaningful,"
Am. Compl. <JI 32, plaintiff's allegation in this regard is too vague
and conclusory to support a Lanham Act claim premised on the
Affiliate Disclaimer.

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two statements are unprovable,                          inactionable puffery. See Lipton,                                  71

F.3d at 474         (holding that claim that research was "thorough" was

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constitute false advertising"). Plaintiff's argument is less that

any one of Mitcham's statements in the Affiliate Disclaimer or the

"About the Mattress Nerd" page is false or misleading and more that

these statements, lumped together, create a misleading air of

objectivity - notwithstanding that the Affiliate Disclaimer itself

explicitly acknowledges Mitcham's pecuniary interest in driving

mattress sales to affiliates. This nebulous theory is insufficiently

tied to an actionable "description" or "representation of fact" to

give rise to liability under the Lanham Act. 15 U.S.C.                                              §       1125(a) (1)

       Plaintiff's Lanham Act claim survives, however, to the extent

it is premised on specific instances in which Mitcham has directly

suggested on MattressNerd.com that he has an affiliate relationship

with Casper. For example, MattressNerd.com contains a three-way

comparison of Casper, Tuft and Needle, and Saatva mattresses. See

Am. Compl.     ~    37. Plaintiff alleges that although Mitcham's

comparison originally named Casper the winner of this face-off,

Mitcham updated the post after Casper terminated its affiliate

relationship with Mitcham so as to recommend a different mattress

company altogether with whom he is affiliated (namely, Leesa). See

id. Yet, at the time of the filing of this action, the three-way

comparison allegedly falsely stated that Mitcham is an "affiliate

for all of the companies mentioned in the article." Id.                                                 ~    53. In

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contrast to the statements in the Affiliate Disclaimer and on the

"About the Mattress Nerd" page, this statement is alleged to be a

literal falsehood and thus is not          SUbJec~   Lo   dismlssctl un   Ll1e

grounds discussed above.       4


          Similarly, Mitcham's review of the Casper mattress - which

repeatedly recommends Casper's competitors over Casper - contains

affiliate links to various of Casper's competitors' products, along

with Amazon.com links to Casper and Tuft and Needle. See id.                     ~~   40,

52.   5   But in his "Disclaimer" at the bottom of the review, Mitcham

groups his relationships with the competitors together,               stating

that, "[t]his article includes 'affiliate links,' meaning that I'd

get paid a commission if you purchased anything from them." Id.

~   52. While this presents a closer call than the alleged literal

falsehood included in the three-way comparison, this disclaimer

(like the alleged misstatement described above) plausibly materially

misleads consumers by directly suggesting that Mitcham has the same

pecuniary interest in pushing sales of Casper that he does in




4 Defendants do not argue that the statements in question do not
constitute "commercial advertising or promotion" under § 43 (a) (1) (B)
as a matter of law. Nor they do they argue that the alleged
misrepresentations do not concern "an inherent quality or
characteristic of [defendants'] product" as a matter of law. S.C.
Johnson & Son, Inc. v. Clorox Co., 241 F.3d 232, 238 (2d Cir. 2001)
(internal quotation marks omitted). The Court thus declines to
consider these arguments.
s Plaintiff alleges that "when users purchase a Casper mattress                       (or
any other product) on Amazon after clicking on Mitcham's Amazon
link, Mitcham receives a small payment if Amazon processes the
transaction." Am. Compl. ~ 30.
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pushing sales of each of the other mattress companies mentioned in

the review.

        Defendants'    remaining argument:s     ror   cne    d_i_::>m_i_:::;:::;ctl   uf

plaintiff's Lanham Act claim in its entirety are unavailing.

        First, defendants'     suggestion that the claim fails because

defendants do not directly compete with plaintiff is foreclosed by

Lexmark, which explained that a direct-competition requirement would

"distort[] the statutory language" of the Lanham Act. Lexmark Int'l,

Inc., 134 S. Ct. at 1392        ("' [T]here need be no competition in unfair

competition,'     just as    '[t]here is no soda in soda water, no grapes

in grape fruit,       no bread in bread fruit,        and a clothes horse is not

a horse but is good enough to hang things on.'"                      (quoting Edward S.

Rogers, Book Review,        39 Yale L.J. 297, 299       (1929))). To be sure,

this action "does not present the classic Lanham Act false-

advertising claim in which one competitor directly injures another

by making false statements about his own goods or the competitor's

goods and thus inducing customers to switch." Id. at 1393                                  (internal

quotation marks and alterations omitted) . But there is no

requirement that false-advertising claims under the Lanham Act be

limited to the typical fact pattern. See id.                 ("[A]lthough diversion

of sales to a direct competitor may be the paradigmatic direct

injury from false advertising,        it is not the only type of injury

cognizable under§ 1125(a) ."); Vitamins Online,                     Inc. v. Heartwise,

Inc.,    2016 WL 538458, at *6-7     (D.   Utah Feb.        9,    2016)           (agreeing that




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"the Lanham Act is broad enough to cover new deceptive practices

     . that have and will arise in e-commerce").

        Second, defendants'    related contention that plaintiff's claim

fails because plaintiff does not allege that Mitcham made any false

or misleading statements about plaintiff's products is meritless.

Section 43(a)    unambiguously encompasses false or misleading

statements about one's own goods or services. See 15 U.S.C.

§ 1125 (a) (1) (B)    (creating liability for false or misleading

statements made by the speaker regarding "his or her or another

person's goods, services, or commercial activities").

        Third and finally,    defendants'    argument that Casper's alleged

injuries were,       as a matter of law, not proximately caused by

Mitcham's allegedly inadequate disclosures,          likewise fails.

Proximate causation is, of course, an element of a Lanham Act claim

that must be adequately pleaded. See Lexmark Int'l,           Inc., 134 S. Ct.

at 1395    ("To invoke the Lanham Act's cause of action for false

advertising,    a plaintiff must plead (and ultimately prove) an injury

to a commercial interest in sales or business reputation proximately

caused by the defendant's misrepresentations."). Lexmark further

held that in order to establish proximate causation, "a plaintiff

suing under§ 1125(a) ordinarily must show economic or reputational

injury flowing directly from the deception wrought by the

defendant's advertising; and that that occurs when deception of

consumers causes them to withhold trade from the plaintiff." Id. at

1391.

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     Here, plaintiff alleges,    in relevant part, that Mitcham's

statements suggesting that he has the same financial interest in

sales of Casper products as he does in sales of competitors'

products caused plaintiff lost sales and diminished its goodwill in

the marketplace. Given that the reviews discussed above recommend

Casper's competitors' mattresses over Casper's mattresses,          it is

perfectly plausible that the alleged "deception .           . cause[d]

[consumers]   to withhold trade from the plaintiff," such that Casper

suffered "economic or reputational injury flowing directly from the

[alleged] deception." Id.    Put differently, to the extent that

accurate representations - or even no representations at all - would

have resulted in fewer diverted sales for Casper and mitigated the

negative impact on its reputation,     the alleged misrepresentations

proximately caused the alleged harm.6



6 Defendants rely heavily on an Eastern District of Virginia case, in
which a tax settlement business that had been rated poorly by the
Better Business Bureau (the "BBB") brought a§ 43(a) claim against
the BBB alleging that it had been harmed by the defendants'
misleading description of its ratings as based on a "national,
uniform, and unbiased standard." Wall & Assocs., Inc. v. Better Bus.
Bureau of Cent. Va., Inc., 2016 WL 3087055 (E.D. Va. May 31, 2016).
The district court dismissed the claim because "[w]hile the asserted
injury may have been proximately caused by the unfavorable ratings,
[plaintiff] has not adequately alleged a direct injury caused by
Defendants' characterizations of its rating system as uniform,
objective, and unbiased." Id. at *3. However, though the case is
superficially analogous, it is distinguishable on at least two
significant grounds. First, this Court has allowed plaintiff's
Lanham Act claim to survive only to the extent Mitcham made false or
misleading statements about his affiliate relationship with,
specifically, Casper. There does not appear to have been any
allegation in Wall that the BBB made false or misleading statements
directly tied to the plaintiff in that case. See id. at *2 ("[T]he
claim centers on Defendants' self-characterizations of the BBB

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       Turning to plaintiff's second cause of action, § 349 of the New

York General Business Law prohibits "[d]eceptive acts or practices

in the conduct of any business, trade or commerce or in the

furnishing of any service in [New York]." N.Y.              Gen.   Bus. Law

§   349(a). "[A]ny person who has been injured by reason of any

violation of this section may bring an action in his own name to

enjoin such unlawful act or practice." Id.           §    3 4 9 ( h) . While that

private right of action was included to "allow []              [consumers] to

bring suit on their own behalf without relying on the Attorney

General for enforcement," Blue Cross & Blue Shield of N.J.,                   Inc. v.

Philip Morris USA Inc.,       818 N.E.2d 1140, 1143        (N.Y.   2004), "[t]he

critical question             is whether the matter affects the public

interest in New York, not whether the suit is brought by a consumer

or a competitor," Securitron Magnalock Corp. v.              Schnabolk,     65 F.3d

256, 264    (2d Cir. 1995).

      To adequately plead a claim under        §   349,    "a plaintiff must

allege that a defendant has engaged in (1)           consumer-oriented conduct

that is    (2) materially misleading and that        (3) plaintiff suffered

injury as a result of the allegedly deceptive act or practice."

Orlander v. Staples,      Inc.,   802 F.3d 289,    300    (2d Cir. 2015)

(internal quotation marks omitted).          In addition, plaintiff must



rating system in promoting its accreditation services."). Second,
the district court in Wall found that the plaintiff had failed to
plead proximate causation in part because the "overlap" between the
plaintiff's customers and the BBB's customers was insufficient. Id.
The overlap between plaintiff's and defendants' prospective
customers in this case is much tighter and arguably 1:1.

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plausibly plead that the challenged "acts or practices have a

broader impact on consumers at large." Oswego Laborers' Local 214

Pension Fund v. Marine Midland Bank, N.A.,           647 N.E.2d 741,       744    (N.Y.

1995); see also Securitron Magnalock Corp.,           65 F.3d at 264       ("It is

clear that 'the gravamen of the complaint must be consumer injury or

harm to the public interest.'"). "Private contract disputes, unique

to the parties,     for example, would not fall within the ambit of the

statute." Oswego,      647 N.E.2d at 744.

        Although the parties largely agree on the foregoing,              defendants

go further and contend that the alleged "injury must include some

potential danger to the public health or safety." Romeo & Juliette

Laser Hair Removal,      Inc. v. Assara I LLC,      2014 WL 4723299, at *4

(S.D.N.Y. Sept. 23,      2014). Defendants further assert that because

plaintiff is a commercial actor, it must allege conduct that has

"significant ramifications for the public at large." Shred-It USA,

Inc. v. Mobile Data Shred,       Inc.,   228 F.   Supp. 2d 455,    465    (S.D.N.Y.

2002)    (internal quotation marks omitted). Plaintiff,           for its part,

argues that defendants misstate the relevant pleading requirements

and that    §   349 encompasses "those acts or practices which undermine

a consumer's ability to evaluate his or her market options and to

make a free and intelligent choice." N. State Autobahn,                 Inc. v.

Progressive Ins. Grp. Co.,       953 N.Y.S.2d 96, 102     (2d Dep't 2012)

        The dispute between the parties over the scope of           §    349 is not

surprising given that courts have significantly differed in

articulating its scope. On the one hand, the New York Court of

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Appeals and the Second Circuit have repeatedly held that the "[t]he

'consumer-oriented'       requirement may be satisfied by showing that the

conduct at issue       'potentially attectLSJ        simi1ar1y situated

consumers.'" See Wilson v. Nw. Mut.           Ins. Co.,      625 F.3d 54,     64   (2d

Cir. 2010)       (quoting Oswego,   647 N.E.2d at 745). On the other hand,

some district courts have interpreted           §    349 much more narrowly,

dismissing claims because they did not adequately plead "significant

ramifications for the public at large," Shred-It USA,                 Inc.,      228 F.

Supp. 2d at 465       (internal quotation marks omitted),           or "potential

danger to the public health or safety," Romeo & Juliette Laser Hair

Removal,    Inc., 2014 WL 4723299, at *4.

        In this Court's view, the elevated requirements that some

district courts have apparently engrafted onto the "consumer-

oriented" element of § 349 claims lack a basis in governing New York

law. See Giordano v. City of New York,              274 F.3d 740,    754   (2d Cir.

2001)    ("[T]he New York Court of Appeals[']                 . construction of New

York State law binds this Court."). As a threshold matter, the New

York Court of Appeals has emphasized that "section 349 is a broad,

remedial statute and that the provision creating a private right of

action employs expansive language." Blue Cross & Blue Shield of

N.J.,    Inc.,   818 N.E.2d at 1144. As such,         §   349 "appl[ies]    to

virtually all economic activity, and [its]                application has been

correspondingly broad," as "[t]he reach of [this]                statute[]

provide[s] needed authority to cope with the numerous, ever-changing

types of false and deceptive business practices which plague

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consumers in [New York] "Karlin v. IVF Am.,             Inc., 712 N.E.2d 662,

665   (N.Y. 1999)    (internal quotation marks omitted); see also

Aghaeepour V. N. Leasing Sys., lnc., 2015 WL 1758894, al             ~14


(S.D.N.Y.   Dec. 1, 2015)      ("[T]he requirement that defendants engage

in consumer-oriented conduct has been construed liberally.").              In

other words, the "statute seeks to secure an honest market place

where trust, and not deception, prevails." Goshen v. Mut. Life Ins.

Co. of N.Y., 774 N.E.2d 1190, 1195           (N.Y. 2002)   (internal quotation

marks omitted) . 7

      Defendants'     suggestion that the allegedly deceptive practice

must pose some danger to the public health or safety, or have

"significant ramifications" for the public,            is simply wrong. Cf. N.

State Autobahn,      Inc.,   953 N.Y.S.2d at 102     ("To require a showing of

specific quantifiable harm to the public at large goes beyond the

Court of Appeals'      statement that a plaintiff need only show an

'impact' on consumers."). The "significant ramifications"

formulation has been employed by some district courts but never

adopted, to this Court's knowledge, by the Second Circuit or a New

York state court. The notion that a          §   349 claim must implicate the

public health or safety can be traced to a misreading of a 1997

district court decision, which noted that "federal courts have



7 Thus, even the sale of high-end wine has been held sufficiently
"consumer-oriented" to support a claim under § 349. Koch v.
Greenberg, 626 F. App'x 335, 340 (2d Cir. 2015) ("[G]iven that the
defendant provided wine to be sold at auction to other consumers
similarly situated to [plaintiff], the consumer-oriented conduct
requirement has been met.").
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interpreted the statute's scope as limited to the types of offenses

to the public interest that would trigger Federal Trade Commission

intervention under lj U.S.C.        §   4j,~   and 1aent1r1ea -poter1Llal danger

to the public health or safety" as an example of such an offense.

Sports Traveler,       Inc. v. Advance Magazine Publishers,      Inc.,   1997 WL

137443, at *2        (S.D.N.Y. Mar. 24, 1997).

        Indeed,    in Oswego, there was no monumental public interest at

stake,    let alone a threat to public health or safety. The case was

brought against a bank by two pension funds alleging that the bank

did not adequately disclose upon plaintiffs' opening of savings

accounts that interest would not be paid on deposits in excess of

$100,000. See Oswego,        647 N.E.2d at 743-44. The Court of Appeals

noted that the defendant dealt with the plaintiffs in the same way

it dealt with any customer seeking to open a savings accounts. See

id. at 745. As such,        "the acts   [plaintiffs] complain[ed] of [were]

consumer-oriented in the sense that they potentially affect[ed]

similarly situated consumers," and the Court of Appeals reversed the

Appellate Division's grant of summary judgment to the defendant-

bank.    Id. The Court's focus was not on the magnitude of the public

interest at stake or the identity of the claimant, but rather on

whether the complained-of acts represented a one-off,            "single shot

transaction," on the one hand, or a way of doing business, on the

other.    Id.     (internal quotation marks omitted) .

        Here, defendants operate a website that Mitcham allegedly

promotes "as a source for personally informed,            independent, and

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unbiased mattress reviews." Am. Compl. gr 29. Mitcham's website,

reviews, and disclosures are plainly geared toward consumers, and

"the conduct at issue potentially affects similarly situated

consumers" because readers of the website browse the same site and

are subject to the same allegedly deceptive conduct. Wilson,               625

F.3d at 64      (internal quotation marks and alterations omitted). As

such, plaintiff has adequately pleaded "consumer-oriented" conduct.

       In addition, because the relevant question under § 349 is

whether defendants are engaged in a deceptive act or practice and

not whether they have plausibly engaged in false advertising under

the Lanham Act, there is nothing inconsistent about allowing

plaintiff's§ 349 claim to proceed in its entirety while dismissing

plaintiff's Lanham Act claim in substantial part. Thus, though the

Court has found the Affiliate Disclaimer not actionable as a matter

of law for purposes of plaintiff's Lanham Act claim, that does not

render Mitcham's disclosures adequate for purposes of§ 349. Section

349 is "substantially modelled on the Federal Trade Commission Act."

Genesco Entm't, a Div. of Lymutt Indus.,           Inc. v. Koch,    593 F. Supp.

743, 752      (S.D.N.Y. 1984)    ("[I]n interpreting the phrase 'deceptive

practices,' the New York courts have in large measure relied on the

Federal Trade Commission Act's definition of such practices."

(footnote omitted)); see also New York v.           Feldman, 210 F. Supp. 2d

294,   302    (S.D.N.Y. 2002)    (same). The Court's analysis of Mitcham's

disclosures under the Lanham Act, which imposes no affirmative duty

to disclose affiliate marketing relationships, has only tangential

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bearing on how those disclosures fare under § 349, which arguably

does require such disclosures - prominently and completely. Cf. 16

C.F.R. § 255.5   (advising "clear[] and conspicuous[]" disclosures

"[w]hen there exists a connection between the endorser and the

seller of the advertised product that might materially affect the

weight or credibility of the endorsement").

     In sum,   for the foregoing reasons, the Court hereby grants

defendants' motion to dismiss in part and denies it in part. The

Clerk of the Court is directed to close document number 18 on the

docket of this case.

Dated:     New York, NY
           September _I , 2016




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